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IN THE UNITED STATES DISTRICT COURT . Pik cout
FOR THE NORTHERN DISTRICT OF TEXAS = £223 UB 6 5 PM peo 9
FORT WORTH DIVISION Peobe ge
4-23Cy-556-¥%
Case No.
JOHN ANTHONY CASTRO

12 Park Place, Mansfield, TX 76063
202-594-4344

Plaintiff,

v.

DONALD J. TRUMP, CHARLES RETTIG, MARIA CHAPA LOPEZ, TUAN MA, ANNE
CRAIG-PENA, ANTON PUKHALENKO, ESTELA WELLS, JOHN TURNICKY, AND
OTHER UNNAMMED CO-CONSPIRATORS

Defendants.

 

VERIFIED COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF

 

JOHN ANTHONY CASTRO
12 Park Place

Mansfield, TX 76063

Tel. (202) 792- 6600
J.Castro@JohnCastro.com

PLAINTIFF PRO SE

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

Case No.
JOHN ANTHONY CASTRO J
12 Park Place, Mansfield, TX 76063 )
202-594-4344 )
Plaintiff, )
)

vy ) JURY TRIAL DEMANDED
)
DONALD J. TRUMP, CHARLES RETTIG, )
MARIA CHAPA LOPEZ, TUAN MA, ANNE  )
CRAIG-PENA, ANTON PUKHALENKO, )
ESTELA WELLS, JOHN TURNICKY, AND )
OTHER UNNAMMED CO-CONSPIRATORS _ )
)

VERIFIED COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF

Plaintiff, John Anthony Castro, pro se, brings this suit against Donald J. Trump, Charles
Rettig, Tuan Dang Ma, Anne Craig-Pena, Anton Pukhalenko, Estela Wells, John Turnicky, and
other unnamed co-conspirators for the violation of John Anthony Castro’s constitutionally
protected right to privacy, freedom of speech, and to be free from unreasonable search and seizure
under the Fourth Amendment to the United States Constitution as a direct and proximate result of
the negligent, reckless, intentional, and criminal political retaliatory acts committed by
Defendants.

To put it plainly, former President Donald J. Trump weaponized fanatical supporters who
worked within the Internal Revenue Service and U.S. intelligence community to unlawfully
monitor, surveil, and harass John Anthony Castro knowing his involvement with like-minded
Republicans opposed to Trump’s toxic political rhetoric. During his Presidency and even prior to

leaving office, former President Donald J. Trump, in a joint conspiracy with the named and
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unnamed Defendants, authorized an unlawful surveillance program targeting John Anthony Castro
and other individuals that former President Donald J. Trump deemed to be his political enemies.
The goal of this unauthorized surveillance program was to find evidence of criminal wrongdoing
in order to discredit John Anthony Castro. The program ultimately failed because John Anthony
Castro is a law-abiding citizen.

John Anthony Castro is now seeking the Republican nomination for the Presidency of the
United States and has a personal lawsuit against Donald J. Trump before the U.S. District Court
for the Southern District of Florida wherein he seeks a declaratory judgment that Mr. Trump is
disqualified from seeking or holding public office pursuant to Section 3 of the 14th Amendment
for giving aid or comfort to the insurrectionists that violently attacked the United State Capitol on
January 6, 2021.

John Anthony Castro seeks compensatory and punitive damages against in the amount of
$180,125,545. John Anthony Castro further demands a TRIAL BY JURY. In support of this
complaint, John Anthony Castro respectfully states, alleges, and prays as follows:

I. PARTIES

1. Plaintiff John Anthony Castro is a 2024 candidate for the Republican nomination
for the Presidency of the United States, a U.S. citizen and resident of the city of Mansfield, county
of Tarrant, state of Texas.

2. Defendant Donald J. Trump is the former President of the United States, a 2024
candidate for the Republican nomination for the Presidency of the United States, a U.S. citizen
and resident of the city of Palm Beach, county of Palm Beach, state of Florida.

3. Defendant Charles Rettig is the former Trump-appointed Commissioner of
Internal Revenue, a U.S. citizen and resident of the city of Encino, county of Los Angeles, state of

California.

 

 

 

 
 

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4. Defendant Maria Chapa Lopez is the former Trump-appointed U.S. Attorney for
the Middle District of Florida and a U.S. citizen. Her residency is unknown at this time.

5. Defendant Tuan Dang Ma is a Trump-supporting IRS-CI Special Agent, a U.S.
citizen and resident of the city of Orlando, county of Orange, state of Florida.

6. Defendant Anne Craig-Pena is a Trump-supporting IRS Attorney with the Office
of Chief Counsel, a U.S. citizen and resident of the city of Lakewood, county of Jefferson, state of
Colorado.

7. Defendant Anton Pukhalenko is a Trump-supporting Tax Examiner with the
Internal Revenue Service, a U.S. citizen and resident of the city of Tampa, county of Hillsborough,
state of Florida.

8 Defendant Estela Wells is a Trump-supporting Tax Examiner with the Internal
Revenue Service, a U.S. citizen and resident of the city of Tampa, county of Hillsborough, state
of Florida.

9. Defendant John Turnicky is the former Head of Security for the Central
Intelligence Agency and current Housing Program Manager for the U.S. Department of Defense
at the Joint Defense Facility at Pine Gap (“JDFPG”).

10. Defendants John Doe assisted in the conspiracy to unlawfully surveil, harass, and
retaliate against Plaintiff.

Il. JURISDICTION

11. This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

12. This cause of action arises under 28 U.S.C. § 2201 (a), 5 U.S.C. §§ 701-706, the
First Amendment for retaliation, and directly under the Fourth Amendment to the U.S.
Constitution pursuant to the U.S. Supreme Court ruling in Bivens v. Six Unknown Named Agents

of the Federal Bureau of Narcotics, 403 U.S, 388 (1971).
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Hl. VENUE
13. Venue is proper under 28 U.S.C. § 1391(b), as a substantial part of the events or

omission giving rise to this action occurred in this District.
iV. FACTUAL BACKGROUND

14. John Anthony Castro has a reasonable expectation of privacy in his business
email account even if the age of the email is greater than 180 days. Reasonable expectation of
privacy is a mixed question of fact and law that the Electronic Communications Privacy Act cannot
dictate.’

15. His reasonable expectation of privacy was eroded when then-President Donald J.
Trump took notice of John Anthony Castro’s political endeavors and abused his power to order
government actors to harass and infringe on John Anthony Castro’s rights.

16. Former President Donald J. Trump did not act alone; he leveraged the Office of
the President of the United States to have others within the federal government do his bidding.
Most notably, he directed the Commissioner of Internal Revenue Charles Rettig to act as his
political chess piece in order to weaponize the IRS.

17. The unlawful behavior, directed and perpetrated by the former President Donald
J. Trump, through the former Commissioner of Internal Revenue Charles Rettig, includes
requesting multiple subpoenas on fraudulent grounds, violating John Anthony Castro’s taxpayer

privacy rights, and revoking his ability to file U.S. tax returns electronically, which the U.S.

 

' Pursuant to Fed. R. Civ. P. 5.1., John Anthony Castro includes herein a Notice of Constitutional Question
and will “serve the notice and paper on the Attorney General of the United States” by certified mail or “an
electronic address designated by the attorney general for this purpose.” According to Brian Hudak, Chief
of the Civil Division of the U.S. Attorney’s Office for the District of Columbia, the email address for
purposes of this rule is: USADC.ServiceCivil@usdoj.gov

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Department of Justice compelled the IRS to reverse once John Anthony Castro sought emergency
review before the U.S. Court of Appeals for the Fifth Circuit.

18. Despite a U.S. Supreme Court ruling mandating probable cause to obtain emails,
U.S. government agents, at the direction of former President Donald J. Trump and former
Commissioner of Internal Revenue Charles Rettig, either provided false information in the
probable cause affidavit or entirely failed to provide a probable cause affidavit in order to subpoena
the privileged emails of Plaintiff John Anthony Castro. More importantly, the U.S. Government
failed to employ the use of a privilege screening team upon receiving said privileged emails.

19. Former President Donald J. Trump’s weaponization of the IRS runs deep. After
he unlawfully directed former Commissioner of Internal Revenue Charles Rettig to target John
Anthony Castro, former Commissioner of Internal Revenue Charles Rettig identified two IRS
Agents, IRC-CI Special Agent-in-Charge Bryan Pane and rookie IRS-CI Special Agent Tuan Ma,
who are outspoken supporters of former President Donald J. Trump, to be the boots on the ground
for this unlawful undertaking.

90. As result, IRS-CI Agent Bryan Pane and Tuan Ma approached employees, a
former contractor, and clients of John Anthony Castro to conduct a fishing expedition and attempt
to taint his reputation by disclosing his confidential tax information to countless individuals.

21. But former President Donald J. Tramp did not stop there. Directly and through
an intermediary, former President Donald J, Trump approached John Turnicky, former Head of
Security at the Central Intelligence Agency and current Housing Program Manager for the USS.
Department of Defense at JDFPG, Jason Lang, the Head of Security at JDFPG, and other unnamed
individuals employed at JDFPG to continue his political harassment of John Anthony Castro.

Former President Donald J. Trump strategically sought out these named and unnamed individuais
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because John Anthony Castro had previously reported their criminal wrongdoings to the D.C. U.S.
Attorney’s Chief of Fraud and Public Corruption, J.P. Cooney.

22. Between August 2018 and February 2023, John Turnicky, Jason Long, and other
unnamed individuals employed at JOFPG abused their access to government spying systems to
engage in.the unauthorized electronic surveillance of John Anthony Castro.

23. The rouge, unsanctioned, and unauthorized electronic surveillance program of
John Anthony Castro was initially utilized to monitor John Anthony Castro’s communications
with JDFPG employees regarding their tax matters with John Anthony Castro in his capacity as an
International Tax Attorney. However, the unlawful surveillance program was then expanded to
monitor John Anthony Castro’s communications with non-JDFPG clients, personal
communications, cell phone calls, text messages, home internet activity, and home internet
cameras.

24. Because of former President Donald J. Trump’s direction and efforts to seize
John Anthony Castro’s client communication, countless taxpayers’ information are potentially in
the hands of the U.S. Government in violation of the 4th Amendment.

25. Backed by then-President Trump, John Turnicky and the unnamed individuals
currently or previously employed at JDOFPG then began to coordinate with [RS Criminal
Investigation to initiate a direct referral to the U.S. Department of Justice (DOJ).

26. The following is a chronological factual account that shows how John Anthony
Castro was unlawfully targeted, surveilled, and harassed by agents of the U.S. Government for
speaking out against former President Donald J. Trump.

A. Background of John Anthony Castro
27. John Anthony Castro is a graduate of Georgetown University Law Center where

he earned his Master of Laws (LL.M.) in Taxation with a Certificate in International Taxation, the

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University of New Mexico School of Law where he earned his Juris Doctor (J.D.), and Harvard
Business School where he completed the Owner and President Management (OPM) Program,
which is the only executive education program that grants full alumni status upon completion.

28. John Anthony Castro is authorized to limitedly practice tax law before the IRS.
His Preparer Tax Identification Number is 01697079. This alone provides status as a federal
practitioner whereby John Anthony Castro may speak on behalf of or otherwise represent
taxpayers before the IRS. Because these activities are authorized under federal law, state bars do
not have the authority to regulate John Anthony Castro pursuant to the Supremacy Clause as
explained by the U.S. Supreme Court in Sperry v. Florida, 373 U.S. 379 (1963).

29. Because federal law permits John Anthony Castro to limitedly represent
taxpayers before the IRS and he has two law degrees, John Anthony Castro has and will continue
to hold himself out to the public as an International Tax Attorney. If any state bar disagrees with
this position, they may seek an injunction to prevent John Anthony Castro from doing so.
However, to date, no state bar has been willing to challenge the U.S. Supreme Court’s ruling in
Sperry v. Florida as it applies to federal tax practitioners like John Anthony Castro.

30. John Anthony Castro has been published in Tax Analysts and the Nevada Law
Journal and has a book titled International Taxation in Plain English that was previously used as
4 textbook at the University of Maryland’s R.H. Smith School of Business.

31. John Anthony Castro's international tax blog has been listed as an authoritative
source by New York University “NYU”) Law Library’s website.

32, John Anthony Castro’s legal ingenuity has been covered by Forbes,

Entrepreneur, the International Business Times, SMSF Advisor, and the Sydney Morning Herald.
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33. John Anthony Castro’s political activities have been covered by Newsweek, the
Washington Post, Politico, Texas Tribune, Dallas Morning News, Fort-Worth Star Telegram,
Epoch Times, and the Daily Kos.

34. John Anthony Castro is currently a Republican Presidential Candidate for the
2024 election and currently has an active federal lawsuit directly against former President Donald
J. Trump to challenge his eligibility to pursue public office under Section 3 of the 14th Amendment
for having given aid or comfort to the January 6th Insurrectionists that attacked the United States
Capitol in an attempt to unlawfully prevent the peaceful transition of power to then President-elect
Joseph R. Biden. See Castro v. Trump, Case No. 9:23-cv-80015 (S.D. Fla. Jan. 6, 2023),

35. John Anthony Castro has secured two patents from the United States Patent and
Trademark Office covering “Tax Planning Using Video-Based Graphical User Interface and

Artificial Intelligence,” which has received a formal valuation of $180 million.

B. John Anthony Castro Joins the Anti-Trump Republicans in the Lead-Up to the 2020
General Election

36. In 2017, John Anthony Castro joined the efforts of the Lincoln Project and other
like-minded Republicans who were concerned with the long-term damage that the rhetoric of then
President Donald J. Trump would inflict on the Republican Party.

37. In 2020, John Anthony Castro spent considerable sums on political advertising
efforts in swing counties in Michigan, Wisconsin, and Pennsylvania, which John Anthony Castro
had determined were critical to the effort to defeat then President Donald J. Trump in the 2020
General Election.

38. Former President Donald J. Trump was briefed by political advisors on John

Anthony Castro’s efforts.

 
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C. Historical Background of John Anthony Castro’s Disputes with the Trump White
House, the IRS, and Intelligence Agencies at JDFPG

39. On Auegust 15, 2017, a potential client contacted John Anthony Castro’s firm,
Castro & Co., regarding an international tax issue arising in Alice Springs, Northern Territory,
Australia, at JDFPG.

40. At first, John Anthony Castro believed that the tax dispute is a standard dispute
with regard to interpreting the U.S.-Australia Income Tax Treaty. However, shortly after the initial
contact, John Anthony Castro began receiving information from employees at JDFPG that their
signatures were forged on IRS Closing Agreements, and one person claimed that their private
taxpayer information was unlawfully leaked to the Australian Tax Office.

41, John Anthony Castro identified the likely culprit as IRS Competent Authority
Analyst Melanie Godelis (“IRS Agent Melanie Godelis”), who worked with the IRS’s Large
Business and International (“LB&I”) Division.

42, On or around this time, John Anthony Castro became heavily involved in the
political effort to defeat Republican Senatorial Candidate Roy Moore in Alabama, which was
successful, as part of an internet-based group led by John Anthony Castro that identified
themselves online as “The Resistance.” At the time of the special election, John Anthony Castro
was vacationing in Costa Rica. Upon returning to the United States, John Anthony Castro was
detained at the airport for nearly an hour without explanation. John Anthony Castro overheard an
employee mention that they were awaiting a call from McLean, Virginia. This was the first
indication that John Anthony Castro’s political activities were being noticed by those in or near
Washington, DC.

43. On or about February 15, 2018, John Anthony Castro learned that IRS Agent

Melanie Godelis was requesting retroactive consent from employees at JDFPG to disclose

 

 

 

 
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confidential taxpayer information that she had already allegedly leaked to the Australian Tax
Office in coordination with Defendant John Turnicky. This appeared to John Anthony Castro to
be an illegal cover-up in the works; trying to extort consent to disclose confidential taxpayer
information after already having had leaked it to a foreign government. That is the legal equivalent
of asking a bank for a retroactive invitation after breaking into the vault the night before.

44, OnFebruary 21,2018, John Anthony Castro emailed IRS Agent Melanie Godelis
and an employee of Northrop Grumman named Chris Boyer, warning them that their actions were
getting dangerously close to violating, if not already violating, taxpayer confidentiality laws under
26 U.S.C. § 6103. In the ensuing months, the conduct did not appear to stop. Therefore, John
Anthony Castro reached out to the U.S. Attorney’s Office in Washington DC.

45. Onor about August 15, 2018, John Anthony Castro met with the U.S. Attorney
of Washington DC’s Chief of Fraud and Public Corruption, J.P. Cooney, to provide all of the
evidence and allegations John Anthony Castro had regarding IRS Agent Melanie Godelis.

46. John Anthony Castro was told the case was forwarded to the Treasury Inspector
General for Tax Administration (“TIGTA”). John Anthony Castro was later contacted by a special
agent with TIGTA on or around October 2018. John Anthony Castro expected to receive an update
about holding IRS Agent Melanie Godelis accountable for leaking confidential taxpayer
information to a foreign government. Instead, TIGTA sternly warned John Anthony Castro in a
threatening tone to stop even mentioning IRS Agent Melanie Godelis’ name in public and to cease
any accusations. It was quite clear to John Anthony Castro that TIGTA was more interested in

concealing the criminality of IRS employees than holding them accountable.

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D. The Genesis of the Central Florida Conspiracy

47, In another matter, John Anthony Castro represented a different client regarding
his surrender of his U.S. lawful permanent residence status, commonly referred to as the green
card. IRS Agent Estela I. Wells (“IRS Agent Wells”), based out of central Florida, was assigned
to the case. Although John Anthony Castro satisfied Treasury regulations with regard to the
manner by which a taxpayer must surrender his green card in order for the surrender to be legally
recognized by the IRS, IRS Agent Wells unjustifiably demanded additional documentation in
contravention of established regulations and in violation of the Administrative Procedures Act.
When John Anthony Castro asked for the legal justification for additional documentation beyond
that required by regulations, John Anthony Castro did not receive an adequately coherent reply. It
became apparent to John Anthony Castro that the demand for additional documentation was purely
harassment ordered by Commissioner of Internal Revenue Charles P, Rettig. The IRS was
breaking their own rules to win by any means necessary.

48. On April 13, 2019, John Anthony Castro sent IRS Agent Wells an email
explaining that the IRS Restructuring and Reform Act of 1998, Pub. L. 105-206, Title I, Section
1203(a), states that the Commissioner “shall terminate the employment of any employee” that,
pursuant to Section 1203(b)(6), violates “Department of Treasury regulations... for the purpose of
retaliating against, or harassing, a taxpayer, taxpayer representative, or other.”

49. On August 6, 2019, another client for whom there was an ongoing tax
examination informed John Anthony Castro that IRS Agent Wells had taken over the examination.
That examination was previously being handled by Internal Revenue Agent Denise Stinson (IRS
Agent Stinson), also based out of central Florida. IRS Agent Stinson provided no explanation as

to why she was being replaced in the examination, especially with someone who John Anthony

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Castro had recently warned about noncompliance with established Treasury regulations that could
result in that agent’s termination. It was quite clear IRS Agent Weils was taking over the case to
continue her campaign of retaliation and harassment against John Anthony Castro and his clients.
50. In yet another matter, John Anthony Castro was involved in another client’s tax
examination with IRS Revenue Agent Anton Pukhalenko (IRS Agent Pukhalenko), also based out
of central Florida. During the course of the examination, John Anthony Castro and his chent
became concemed that IRS Agent Pukhalenko unlawfully backdated an Information Document
Request in order to meet the statute of limitations on assessing taxation for a particular tax year.
51. On May 31, 2019, John Anthony Castro sent IRS Agent Pukhalenko a letter
accusing him of backdating documents and included therein a formal “Section 1203 Complaint”

in accordance with Internal Revenue Manual (“IRM”) 13.1.15.

E. The IRS Inexplicably Suspends and Then Reinstates John Anthony Castro’s
Enrolled Agent Credentials

52. On May 10, 2019, unbeknownst to John Anthony Castro, Microsoft had
responded to a subpoena issued by Assistant U.S. Attorney Chauncey Bratt. See { 79, intra.
Unbeknownst to both Microsoft, [IRS-CI Special Agent Tuan Ma had pushed for the acquisition of
the subpoena through deception in coordination with IRS-CI Special Agent-in-Charge Bryan
Payne who was acting on behalf of former IRS Commissioner Charles Rettig who was
coordinating these efforts with Trump-appointed U.S. Attorney Maria Chapa Lopez.

53. In order to secure the subpoena, IRS Special Agent Tuan Dang Ma knowingly
failed to disclose to the U.S, District Court for the Middle District of Florida that the emails being
sought were protected by the Texas Attorney-Client Privilege. See Jn re Silver, 540 S.W.3d 530
(Tex. 2018). Even after receiving the emails and seeing that each email contained a notice that the

email was privileged, Tuan Dang Ma knowingly failed to notify anyone.

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54. On or about June 28, 2019, during the course of actively representing a separate
client for a tax examination, Internal Revenue Agent Charles Arrowood (IRS Agent Arrowood),
also based out of central Florida, informed John Anthony Castro that there was an “issue” with his
Enrolled Agent (“EA”) license and that John Anthony Castro needed to call “Tony Woods” (IRS
Agent Woods) with the “Office of Professional Responsibility.”

55. On or about June 28, 2019, John Anthony Castro called and spoke with IRS
Agent Woods. John Anthony Castro recalled her holding herself out as being with the IRS Office
of Professional Responsibility. This is critical because John Anthony Castro later learned in a
FOIA lawsuit before the United States District Court of the District of Columbia that this was
false. See Castro v. IRS, No. CV 20-1843 (D.D.C. Mar. 22, 2022).

56. Asaresult of the FOIA civil action, the IRS confessed that IRS Agent Wood was
a Management and Program Analyst with the Large Business and International Division of the
IRS. This was only after an email revealed that IRS Agent Wood initially falsely claimed to the
FOIA Manager that she had no emails or documents responsive to John Anthony Castro’s FOTA
request, Moreover, the IRS redacted the Call Log List that John Anthony Castro received in the
FOIA case. It did, however, list a call on June 26, 2019, but it identifies the IRS employee with
whom John Anthony Castro allegedly spoke to as Carol Terrell, who is purportedly an IRS
Investigative Assistant.

57. On the June 28 2019, call, the individual who identified herself as IRS Agent
Woods, whether it was the real IRS Agent Wood or Carol Terrell falsely identifying herself as IRS
Agent Wood, informed John Anthony Castro that his Enrolled Agent license was not suspended
but that he needed to send her evidence of completed continuing education hours for the 2014 -

2016 period to justify John Anthony Castro’s renewal of his Enrolled Agent license for the 2017 -

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2019 period, which had already been approved back in 2017. John Anthony Castro was told to
also include his continuing education hours for the 2017 - 2019 period if he wanted to reactivate
his status with the IRS going into 2020. John Anthony Castro was told to fax all of the information
to (855) 889-7959, John Anthony Castro recalled finding it ludicrous that it was June 2019, and
he was being asked to locate documentation going back to January 2014.

58. Onor about September 18, 2019, John Anthony Castro was instructed by the IRS
to submit Form 8554 to renew his Enrolled Agent status. John Anthony Castro was instructed to
enter the last business day of the period to which the renewal applied, which was “December 30,
2016” under the penalty of perjury line. John Anthony Castro found this instruction to be
extremely suspicious and, perhaps, an attempt to lure him into violating the law by misrepresenting
the date the application was being submitted, so John Anthony Castro entered the actual date above
it, which was October 16, 2019. Coincidentally, this is the Call Log Listing that was redacted in
the FOIA case preventing John Anthony Castro from learning the identity of the IRS employee
who provided John Anthony Castro with misleading instructions in an attempt to induce John
Anthony Castro into providing false information, which would have been a prosecutable criminal
offense. See { 56, intra. Tt was an attempted set-up. The IRS was trying to manufacture a crime
to frame John Anthony Castro for an indictment at the order of then-President Donald J. Trump
who had identified John Anthony Castro as a political enemy. Had John Anthony Castro not
written the true date above the date he was instructed to write; he would have found himself
indicted for unlawfully backdating a document.

59. John Anthony Castro became concerned that the IRS employees with whom he
was speaking about his Enrolled Agent status were, in fact, employees of the IRS’s LB&] as well

as the employees against whom he had either warned of or filed complaints against. John Anthony

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Castro was concerned these employees were not IRS employees who routinely deal with
administrative matters, such as Enrolled Agent licensing, payment of annual fees, and confirming
continuing education requirements.

60. After a few conversations, John Anthony Castro was informed by IRS Employee
Tisha Summers that his Enrolled Agent status had been inexplicably and unjustifiably suspended
by the IRS. The IRS falsely claims to have sent John Anthony Castro a notification on July 12,
2017, on IRS Form 4321-C. The IRS has neither provided a copy of that letter nor confirmed to
what address it was sent. John Anthony Castro was never made aware that his Enrolied Agent
status had changed. Only later, during the aforementioned conversations with IRS personnel, did
John Anthony Castro become aware of the situation.

61. In fact, throughout calendar years 2017 and 2018, the online ERS search tool
confirmed that John Anthony Castro’s Enrolled Agent status was active, and John Anthony Castro
provided that internet link to clients to substantiate his licensing. In other words, someone at the
central Florida IRS office decided to unilaterally initiate an unjustified investigation into John

Anthony Castro’s license in an effort to harass and retaliate against him.

F. John Anthony Castro Begins Investigating the IRS with FOTIA

62. In early January 2020, John Anthony Castro began researching the possible use
of FOIA to explore its possible use to shine light on these events of why his Enrolled Agent license
was still inactive. This legal research was done on his home computer.

63, Coincidentally, on January 31, 2020, the IRS unexpectedly reinstated his
Enrolled Agent license. No explanation was provided. The IRS did not respond to phone calls
seeking clarification. John Anthony Castro became concerned that his internet research activity

was being monitored.

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64. Asa result of this concern, John Anthony Castro invested heavily in additional
IT security. Unbeknownst to John Anthony Castro at the time, his concerns that he was being
unlawfully surveilled were accurate. Defendants’ reckless and unauthorized violations of John
Anthony Castro’s privacy resulted in John Anthony Castro unnecessarily $125,545.17 in
additional IT security.

65. Onor about February 13, 2020, John Anthony Castro became concerned that the
IRS’s treatment was retaliation and thus decided to request records under FOIA to learn more
about why his Enrolled Agent license had been inexplicably revoked.

66. On or around this time, John Anthony Castro announced his candidacy for the
Republican Nomination for the United States Senate in his home state of Texas to challenge
Senator John Cornyn.

67, On July 8, 2020, John Anthony Castro filed a civil action under FOIA in the
United States District Court of the District of Columbia. See Castro v. IRS, No. CV 20-1843

(D.D.C. Mar. 22, 2022).

G. John Anthony Castro Learns of the Investigation Before the 2020 Election

68. On October 30, 2020, four days before the Presidential election, John Anthony
Castro was informed by his alma mater, Georgetown University, that they had received a grand
jury subpoena for his education records.

69. Then-President Donald J, Trump ordered U.S. Attorney Maria Chapa Lopez to
issue the subpoena without the standard and typical gag order with the knowledge that by doing
so, Georgetown University would notify John Anthony Castro of the subpoena. Trump wanted

John Anthony Castro to know about the investigation so that he would cease his political attacks.

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70. The subpoena was authorized by Trump-appointed U.S. Attorney Maria Chapa
Lopez. The Assistant U.S. Attorney listed was Chauncey A. Bratt. The subpoena was dated
September 9, 2020.

71. The subpoena avoided scrutiny by Assistant U.S. Attorney Chauncey Bratt
because he had placed his trust in IRS-CI Special Agent Tuan Ma to conduct a lawful investigation.
But IRS-CI Special Agent Tuan Ma abused that trust by issuing a subpoena to Georgetown Law
for John Anthony Castro’s education records with no valid investigatory purpose and with the sole
purpose of harassing John Anthony Castro at the instruction of IRS-CI Special Agent-in-Charge
Bryan Payne as he had done for the past four years during the course of this reckless and grossly
mishandled investigation.

72. By issuing sham subpoenas, IRS-Cl Special Agent Tuan Ma manipulated the
DOJ to engage in fishing expeditions and harassment of John Anthony Castro.

73. The subpoena number was 2018R01689027 suggesting that the grand jury
assigned to this investigation was empaneled in 2018; shortly after John Anthony Castro’s meeting
with the DC U.S. Attorney’s Chief of Fraud and Public Corruption, J.P. Cooney, to report criminal
wrongdoing by the IRS. Assistant U.S. Attorney Chauncey Bratt later denied ever having
presented anything before an actual grand jury; an assertion contradicted by the subpoena number.

74, In the following days, John Anthony Castro immediately assembled a legal team
led by the former Chief of the Internal Revenue Service’s Criminal Investigation (CI) Division,
Don Fort of Kostelanetz & Fink LLP in New York and others.

75, All throughout the remainder of 2020 and all of 2021, believing the Department

of Justice (DOJ) inquiry was being made in good-faith, John Anthony Castro conducted a thorough

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internal review of all tax returns prepared and submitted by his firm, Castro & Co., attempting to
decipher what could lead the DOJ to have suspicion that a crime was committed.

76. Simultaneously, in February 2021, John Anthony Castro launched a bid for a
U.S. House seat vacated by a congressman who passed away as a result of COVID complications.

77. On April 13, 2021, one of John Anthony Castro’s clients, Christiaan Dekter,
informed John Anthony Castro that two IRS agents showed up to his house in California with
questions “not related to his personal tax affairs” and that it was “not an audit.” After he insisted
on additional information, he was told to call IRS-CI Special Agent Tuan Ma who unlawfully
disclosed to him, in violation of 26 U.S.C. § 6103, that John Anthony Castro was the target of a
“srand jury” investigation. IRS-CI Special Agent Tuan Ma later submitted a Declaration under
criminal penalties of perjury denying this; effectively claiming that an unrelated client, whom John
Anthony Castro has never met, fabricated the event. It is critical to note that IRS-CI Special Agent
Tuan Ma did not assert that the disclosure was made inadvertently or in good-faith; IRS Special
Agent Tuan Ma outright denies ever disclosing the grand jury investigation to Christiaan Dekter.
Christiaan Dekter is an Australian national, is not a U.S. citizen, and is not familiar with our grand
jury system.

78. On May 14, 2021, the Fort-Worth Star Telegram quoted John Anthony Castro
calling former President Donald J. Trump a “false prophet” and stating his intent to run for
President, if necessary, to prevent Trump’s candidacy in 2024.

79. On June 6, 2021, Microsoft notified John Anthony Castro that it had received a
subpoena for privileged emails from the U.S. District Court for the Middle District of Florida two

years prior on April 22, 2019, and that they provided said emails on May 10, 2019. The subpoena

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was subject to a 2-year gag order. This was the first time John Anthony Castro learned that his
right to privacy had been grossly violated.

80. This was unlawful because the Texas Supreme Court extended the attorney-client
privilege to federal practitioners in 2018. Someone at the DOJ lied to the court and claimed John
Anthony Castro’s emails were not privileged in order to unlawfully obtain and review them. This
was a crime. This was fraud being perpetrated on the U.S. District Court for the Middie District
of Florida. This crime must be investigated and criminally prosecuted.

81. On September 3, 2021, John Anthony Castro was informed by the SmartVault
Corporation that they had received a federal subpoena for information concerning the data files of
his clients going back to January 1, 2015. The subpoena was dated August 31, 2021. However,
the subpoena number was 2018R01689033, again suggesting that the grand jury assigned to this
investigation was empaneled in 2018; shortly after John Anthony Castro’s meeting with the D.C.
U.S. Attorney’s Chief of Fraud and Public Corruption, J.P. Cooney to report criminal wrongdoing
by employees at JDFPG and the IRS.

82. On October 18, 2021, John Anthony Castro was informed by Wolters Kluwer
that they had received a federal subpoena for information concerning his firm Castro & Co.’s tax
filings with their software, ProSystems FX Tax.

83. On November 18, 2021, John Anthony Castro publicly declared and formally
registered with the Federal Election Commission as a Candidate for the Republican Nomination
for the Presidency of the United States with the stated intent to sue former President Donald J.
Trump to declare him ineligible to pursue public office under Section 3 of the 14th Amendment
for having given aid or comfort to the January 6, 2021, insurrectionists that attacked the United

States Capitol.

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84. In retaliation and response, in early January 2022 in the final days of the Trump
Administration, IRS-Cl Special Agent Tuan Ma visited the homes of Castro & Co.’s Paralegal
Celeste Doidge, Office Manager Alfonso Garza, and Director of Marketing Ismael Garza.
According to their accounts, the questions were broad and generalized questions about our firm’s
processes and procedures, untethered to any valid investigatory purpose. Then-President Donald
J. Trump ordered this harassment.

85. As John Anthony Castro suspected, the questions were not intended to determine
whether a specific factual event or set of events constituted a crime but rather a fishing expedition
to establish reasonable suspicion to perpetuate an ongoing investigation in order to justify
continuing claims of privilege with regard to previously submitted FOIA requests that would have
uncovered evidence of a conspiracy to retaliate against John Anthony Castro stemming from
central Florida.

86. On January 4, 2022, IRS-CI Special Agent Tuan Ma interviewed John Anthony
Castro’s former independent contractor James Robert Land. After James Robert Land had already
agreed to talk with him, IRS-Cl Special Agent Tuan Ma unnecessarily and unlawfully disclosed,
again in violation of 26 U.S.C. § 6103, that John Anthony Castro was the target of a criminal
investigation.

87. James Robert Land is a graduate of Christ for the Nations Institute in Dallas,
Texas. Mr. Land is a pastor who founded several churches in the Dominican Republic.

88. John Anthony Castro purposefully waited for there to be at least two confirmed
violations of 26 U.S.C. § 6103.

H. Castro Files Suit Targeting IRS-CI Special Agent Tuan Ma’s Criminal Conduct
89, On Jamary 7, 2022, John Anthony Castro John Anthony Castro filed a civil

lawsuit under 26 U.S.C. § 7341 in the United States District Court for the Northern District of
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Texas against the United States for criminal violations of John Anthony Castro’s privacy rights
under 26 U.S.C. § 6103 committed by IRS-CI Special Agent Tuan Ma.

90. IRS-CI Special Agent Tuan Ma submitted a formal Declaration under criminal
penalties of perjury stating that he made neither the disclosure to Christiaan Dekter nor James
Robert Land. In effect, IRS-CI Special Agent Tuan Ma is saying that an unrelated client in
California and a missionary and pastor from the Dominican Republic who do not know each other
are both lying.

91. On February 22, 2022, the United States Patent and Trademark Office published
Patent No. 11,257,167 titled “Tax Planning Using Video-Based Graphical User Interface and
Artificial Intelligence.” By May 2022, John Anthony Castro’s new tax software company received
a valuation of over $180 million. John Anthony Castro anticipates the company to be valued at
$2 billion by the end of 2025. As one can imagine, John Anthony Castro exercised an extremely
high degree of secrecy with regard to processes and procedures that were subject to an ongoing
patent application that had the potential to be worth billions of dollars.

92. Between January 10, 2022, and July 7, 2022, John Anthony Castro sent Assistant
U.S. Attorney Chauncey Bratt a total of twelve (12) emails explaining his firm’s processes and
procedures. In some of these emails, IRS-CI Special Agent Tuan Ma and Special Agent-in-Charge
Brian Payne were copied.

93. In response to legal inquiries, John Anthony Castro was informed that Assistant
U.S. Attorney Chauncey Bratt had allegedly stated that no evidence regarding John Anthony
Castro was ever presented to an actual grand jury, that he was not personally convinced John
Anthony Castro engaged in criminal conduct, and that he was being promoted to Supervisor and

would soon be off the case by summertime.

 
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94. On February 24, 2022, Internal Revenue Agent Lori Hill (IRS Agent Hill), also
based out of central Florida, sent John Anthony Castro an Information Document Request for
emails regarding the preparation of a client’s 2015, 2016, 2017, and 2018 U.S. federal income tax
returns. An Information Document Request can only be enforced by a formal Summons.

95. On February 24, 2022, John Anthony Castro responded via fax explaining that
26 U.S.C. § 7602(d) states that:

“No summons may be issued under this title, and the Secretary may
not begin any action under 26 U.S.C. § 7604 to enforce any summons,
with respect to any person if a Justice Department referral is in effect
with respect to such person... A Justice Department referral is in effect
with respect to any person if... the Secretary has recommended to the
Attorney General a grand jury investigation of... such person for any
offense connected with the administration or enforcement of the
internal revenue laws, or... any request is made under section
6103(h)(3)(B) for the disclosure of any return or return information
(within the meaning of section 6103(b)) relating to such person.”

96. It was quite clear to John Anthony Castro that the IRS was attempting to use civil
processes to “cure” the unlawfully obtained emails back in 2019. John Anthony Castro ended the
email with the following:

97. “Ms. Hill, don’t let them use you as a patsy. Do not sign the affidavit

for the summons. If they’re confident there’s reasonable suspicion,

ask them to sign the affidavit. If not, you’re responsible for the content

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of the affidavit, and that’s how they shield themselves from liability.
They’re using you. This is deeper, darker, and uglier than you think.”

98. On or about February 25, 2022, IRS Agent Hill withdrew the Information
Document Request.

99. On June 7, 2022, United States District Court Judge Reed C. O’Connor denied
the Government’s Motion to Dismiss the lawsuit concerning IRS-CI Special Agent Tuan Ma’s
criminal violations of 26 U.S.C. § 6103. Upon the case moving to the discovery phase, John
Anthony Castro was informed that he was not permitted to have any communicate with IRS-Cl
Special Agent Tuan Ma’s because he was now a quasi-party and witness in that civil action.

100. At this point, the IRS knew that, if John Anthony Castro would be permitted to
question IRS-CI Special Agent Tuan Ma under oath, their criminal conspiracy to retaliate against
John Anthony Castro would be exposed. They had to find a way to force John Anthony Castro to
drop his case against IRS-Cl Special Agent Tuan Ma.

101. On July 2, 2022, the United States Patent and Trademark Office sent an Issue
Notification informing John Anthony Castro that a second patent covering an additional 12 claims
would be published on July 26, 2022, at U.S. Patent No. 11,397,995 further expanding on and
solidifying the patent for “lax Planning Using Video-Based Graphical User Interface And
Artificial Intelligence.”

102. On July 6, 2022, the New York Times published an article revealing that Former
EBI Director James Comey and Deputy Director Andrew McCabe were selected for a highly
invasive audit. The odds of this kind of audit among all taxpayers is | in 30,000. Among Comey

and McCabe’s income bracket, it’s more like | in 10,000. However, to calculate the odds of two

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high-profile Trump critics from the FBI being targeted for this audit, you multiple the odds. 10,000

multiplied by 10,000 is 100 million. If you add John Anthony Castro, the odds are | in 1 Trillion.

I. The IRS Unlawfully Retaliates in the Middle of Litigation by Revoking Castro’s
Electronic Filing Identification Number (EFIN)

103. On July 7, 2022, John Anthony Castro was informed by his firm’s staff that
electronically filed returns were being rejected. John Anthony Castro contacted the Internal
Revenue Service to inquire about the status of his Electronic Filing Identification Number (EFIN),
which had inexplicably been revoked preventing Castro & Co, from electronically filing any tax
returns as statutorily required by 26 U.S.C. § 6011 (e){3).

104. The IRS employee with whom John Anthony Castro spoke informed him that the
EFIN was revoked and that an explanatory letter had been mailed out. She offered to read the
letter. The later stated that the EFIN has been revoked because the EFIN was being used to file
“fraudulent returns.” She further read over the phone that, in order to appeal the decision, he was
required to contact someone specific listed on the letter. John Anthony Castro responded, “Let me
guess, Is it [IRS-CI Special Agent] Tuan Ma?” The IRS employee responded in the affirmative.
She read that he was required to contact IRS-CI Special Agent Tuan Ma at 321-441-2668.

105. To date, John Anthony Castro is aware that the DOJ and IRS illegally obtained
his privileged emails by fraud on a federal court, unlawfully disclosed that he was the target of a
grand jury investigation violating his taxpayer privacy rights and good name, and unlawfully
expelled him from the electronic filing system based on wholly unsubstantiated allegations with

no basis in fact or law.

J. DOJ Orders IRS to Reinstate Castro’s EFIN

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106. In response to the EFIN revocation, John Anthony Castro filed suit in the U.S.
District Court for the Northern District of Texas and sought preliminary injunctive relief. When a
Trump-appointed Judge denied the requested relief, John Anthony Castro sought emergency
review by the U.S. Court of Appeals for the Fifth Circuit, Then and only then did the DOJ agree
to settle the case and ordered the IRS to reinstate Mr. Castro’s firm’s ability to electronically file
federal income tax returns.

107. To this day, John Anthony Castro has not been accused of any specific
wrongdoing, has not been subject to preparer penalties, has not had any disciplinary action taken
against him by the IRS Office of Professional Responsibility, is current on all tax filings, has no
outstanding debts, has been honest and cooperative within reason, and is still an active federal tax
practitioner in good standing with the IRS. John Anthony Castro’s tax practice is one of the most
honest and transparent firms in the United States.

Vv. Legal Background
A. The Prohibition of Weaponizing the IRS

108. The Executive Branch has a long history of weaponizing the IRS for political
gains. While the most prolific use of the weaponization of our tax law occurred during the Nixon
administration, scholars note that the improper influence on the activities of the IRS has been
prevalent in every administration, even as early as the Hoover administration. See Leslie S.
Garthwaite, An End to Politically Motivated Audits of Churches? How Amendment to Section 7217
Can Preserve Integrity in the Tax Investigation of Churches Under Section 7611, 60 Tax Law.
503, 513 (2007).

109. In 1998, Congress finally took action when implementing 26 U.S.C. § 7217 to

eliminate the executive branch’s political influence of the IRS. 7d.

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110. The enactment of 26 U.S.C. § 7217 was part of a greater approach to safeguard
the IRS from political sabotage and restore the public’s confidence in the administration of our tax
laws.

111. Today, it is unlawful for the United States President, or any employee of the
executive office, to request, directly or indirectly, the IRS to conduct an audit or other investigation
of any particular taxpayer. See 26 U.S.C. § 7217(a);(e). The offense is punishable “by a fine in any
amount not exceeding $5,000, or imprisonment of not more than 5 years, or both, together with
the costs of prosecution.” See 26 U.S.C. § 7217(d).

112. As even the IRS’s IRM recognizes, the prohibition under 26 U.S.C. § 7217
applies even if the request is made through an intermediary. See IRM 9.5.11.2.4 (09-09-2004).

B. The Fourth Amendment and the Right to Privacy

113. The Fourth Amendment of the U.S. constitution protects the right to be secure
“against unreasonable searches and seizures[.]”

114. “The Fourth Amendment protects “ft]he right of the people to be secure in their
persons, houses, papers, and effects, against unreasonable searches and seizures.” The “basic
purpose of this Amendment,” [...] “is to safeguard the privacy and security of individuals against
arbitrary invasions by governmental officials.” Carpenter v. United States, 138 S. Ct. 2206, 2213
(2018).

115. The rudimentary application of the Fourth Amendment was tied to the common
law trespass principles and focused on whether a Government agent physically intruded on a

constitutionally protected area. /d. at 2213.

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116. Inthe 1960s, the Supreme Court shifted its view on the Fourth Amendment and
started focusing on the protection of people, not property, and expanded the privacy expectation
beyond physical bounds of one’s home. Id. (citing Katz v. United States, 389 US. 347, 351 (1967).

117. Now the Fourth Amendment provides protection when a person “seeks to
preserve something as private” and such expectation is “one that society is prepared to recognize
as reasonable. id. (citing Smith v. Maryland, 44 U.S. 735, 740 (1979).

118. In Carpenter, the Supreme Court addressed the challenges of ensuring that the
Fourth Amendment continues to protects a person against arbitrary power and intrusion and
placing “obstacles in the way of a too permeating police surveillance[.]” in an era where
technology increases the Government’ capacity to intrude on “the privacies of life[.|” 7d. at 2213
— 2214.

119. The Supreme Court pointed out that “[w]hen confronting new concerns brought
by digital technology, this Court has been careful not to uncritically extend existing precedents.”
Id. at 2222 (2018).

120. Continuing on its trend to preserve one’s privacy expectation, especially in our
technology-driven era, Supreme Court placed restrains on the “third-party doctrine.” See
generally, Id.

121. The “third-party doctrine states that “a person has no legitimate expectation of
privacy in information he voluntarily turns over to third parties.” id. at 2216 (citing Smith v.
Maryland, 442 U.S, 735, 743-744 (1979).

122, The Supreme Court pointed out that voluntary exposure of information, however,
does not occur when sharing cell-site location information (CSLI) with a third party. CSLI is

automatically shared with the provider and virtually any phone activity will generate CSLI. See

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Id. at 2220, As such, the act of using a cell phone does not diminish a person’s reasonable
expectation of privacy. Jd.

123. The Supreme Court held that because person maintains a reasonable expectation
of privacy when operating a cell phone, the Government’s acquisition of CSLI (from a third party)
constitutes a search and warranted supported by probable cause is required. fd, at 2221.

124. In his dissent, Justice Kennedy compared CSLI to other business records that can
be obtained with only a subpoena, such as bank records or credit card statements. fd. at 2224,
(Kennedy, J., dissenting). Justice Kennedy theorized that a person has no reasonable expectation
in information that is voluntarily conveyed to companies and over which a person cannot assert
ownership or possession, such as CSLI. /d. at 2227, (Kennedy, J., dissenting). Despite disagreeing
with the ultimate ruling of the Court, Justice Kennedy clearly pointed out that the third-party
doctrine does not apply when the Government “obtains the modern-day equivalents of an
individual's own “papers” or “effects,” even when those papers or effects are held by a third party.”
id. at 2230, (Kennedy, J., dissenting) (citing United States vy. Warshak, 631 F.3d 266, 283-288
(6th Cir, 2010)).

125. The majority opinion called Justice Kennedy’s dissent sensible and commented
that “Jilf the third-party doctrine does not apply to the “modern-day equivalents of an individual's

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own ‘papers' ot ‘effects,’” then the clear implication is that the documents should receive full
Fourth Amendment protection.” fd, at 2222,
126. The Sixth Circuit in Warshak, which was relied upon by Justice Kennedy, held

that a “government may not compel a commercial [internet service provider] to turn over the

contents of a subscriber's emails without first obtaining a warrant based on probable cause.”

Warshak, 631 F.3d at 288.

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127. The Fifth Circuit, also citing to Warshak, agrees that “whether an intrusion
constitutes a search or seizure” “hinges on whether the third party created the record to
memorialize its business transaction with the target” or whether it was “simply recording its
observation of a transaction between two independent parties[.]” In re U.S. for Hist. Cell Site Data,
794 F.3d 600, 610 - 611 (5th Cir. 2013). As such, the Fifth Circuit explains that information simply
sent via a business is protected under the Fourth Amendment. See In re U.S. for Hist. Cell Site
Data, 724 F.3d at 611.

128. The Fifth Circuit also cited to the Ninth Circuit’s case United States v. Forester
and quoted:

“The government's surveillance of e-mail addresses also may be
technologically sophisticated, but it is conceptually
indistinguishable from government surveillance of physical mail...
E-mail, like physical mail, has an outside address ‘visible’ to the
third-party carriers that transmit it to its intended location, and also
a package of content that the sender presumes will be read only by
the intended recipient.” In re U.S. for Hist. Cell Site Data, 724 F.3d
600, 611 (Sth Cir. 2013) (citing United States v. Forrester, 512 ¥.3d
500, 511 (9th Cir. 2008)).

129. Because e-mails are the modern-day equivalent of papers, a person has a
reasonable privacy expectation in connection with e-mails and a warrant based on probable cause

is required to obtain such information from a third party.

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C. BIVENS CLAIM

i. Background

130. A constitutional claim pursuant to Bivens seek a federal equivalent remedy that
a person has against state or local actors in accordance with 42 U.S.C, §1983. Bivens, 403 U.S. at
390.

131, Under a Bivens claim, a federal court can enforce monetary damages against a
federal officer, in his personal capacity, who violated a person’s constitutional right. Such remedy
is available despite the absent of any statutory authority or explicit language in the Constitution.
Ziglar, 137 S. Ct. at 1854.

132. In the landmark case Bivens v. Six Unknown Named Agents of Federal Bureau of
Narcotics, the Supreme Court held that if a petitioner “can demonstrate an injury consequent upon
the violation by federal agents of his fourth amendment right”, such petitioner is “entitled to redress
his injury through a particular remedial mechanism normaily available in the federal courts.”
Bivens, 403 U.S. at 397. In Bivens, petitioner suffered great “humiliation, embarrassment, and
mental suffering as a result of the agents’ unlawful conduct” when federal agents effected his arrest
and search without a warrant. /ed. at 390. Consequently, the Supreme Court held that the petitioner
was “entitled to recover money damages for any injuries he has suffered as a result of the agents’
violation of the [Fourth] Amendment.” Jd. at 397.

133. The Supreme Court also extended the right to obtain money damages in instances
where a federal agent violates the Due Process Clause of the Fifth Amendment of a person. Davis
v. Passman, 442 U.S. 228, 228 (1979).

134. The Supreme Court explained that a person has a right to recover damages when
a federal agent violates such person’s constitutional rights unless the defendant can demonstrate
“special factors counselling hesitation on the absence of affirmative action by Congress” or when

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Congress has provided an alternative remedy, “which it explicitly declared to be a substitute for
recovery directly under the Constitution and viewed as equally effective.” Carlson v. Green, 446
U.S. 14, 18 (1980).

135. While the Supreme Court has not clearly defined what constitutes special factors
counselling hesitation, the Supreme Court has provided guidance.

136. When discussing Bivens, the Supreme Court has stressed time and time again that
“no man in this country is so high that he is above the law.” Davis v. Passman, 442 U.S. 228
(1979). Nevertheless, a special factor counseling hesitation comes into play when the wrongdoer
is a federal agent, for example a congressman’s action protected by the Speech or Debate clause,
who may enjoy such independent status in our constitutional schemes to suggest that judicially
created remedies against such agent might be inappropriate. Carlson, 446 U.S. 14, 19 (1980)
(citing Davis v. Passman, supra, at 246), see also U.S. Const. amend. I, § 6.

137. Another special factor counseling hesitation occurs when the wrongdoer is a
judge or federal prosecutor acting within the scope of his duties and thereby enjoying complete
immunity. See Butz vy. Economou, 438 U.S. 478, 505-508 (1978).

138. But the Supreme Court also highlighted that not all federal executive officials
enjoy such complete immunity as it would “erode the protection provided by basic constitutional
guarantees.” fd. at 505,

139. The Supreme Court held in Butz that “in a suit for damages arising from
unconstitutional action, federal executive officials exercising discretion are entitled only to the

qualified immunity. /d. at 507.

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140. The Supreme Court in Carlson pointed out that qualified immunity provides
federal agents with sufficient protection so that defending a suit would not interfere with an agent’s
efforts to perform one’s official duties. Carison, 446 U.S. at 19 (1980).

141. Ifa federal agent is seeking absolute immunity, such agent carries the burden of

proof that a public policy supports such defense. Butz, 438 U.S. at 506.

ii Damages under Bivens

142. In support of providing damages to a person under a Bivens claim, the Supreme
Court has explained that allowing a person to receive compensation for damages also serves as a
deterrent because the federal agent faces personal financial liability and not the United States.

143. John Anthony Castro incurred thousands of dollars in IT security as a result of
this unlawful harassment.

144, Further, because in Bivens, the Supreme Court held that a person can obtain a
recovery that is normally available in federal court, such recovery also includes a punitive damages
award. In fact, the Supreme Court held that punitive damages “are especially appropriate to redress

the violation by a Government official of a citizen's constitutional rights. Carlson, 446 U.S. at 22.

iii, Bivens Claims Today
145, In 2017, the Supreme Court called the expansion of Bivens claim a “disfavored”
judicial activity. Ziglar v. Abbasi, 137 S. Ct. 1843, 1857 (2017). But despite that, the Supreme
court in Ziglar unequivocally emphasized that:
“(This opinion is not intended to cast doubt on the continued force,
or even the necessity, of Bivens in the search-and-seizure context in
which it arose. Bivens does vindicate the Constitution by allowing

some redress for injuries, and it provides instruction and guidance

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to federal law enforcement officers going forward. The settled law
of Bivens in this common and recurrent sphere of law enforcement,
and the undoubted reliance upon it as a fixed principle in the law,
are powerful reasons to retain it in that sphere.” Ziglar, 137 S. Ct. at
1856-57 (2017).

146. While still not defining the phrase “special factors counselling hesitation” the
Supreme court stated that the inquiry should focus on “whether the Judiciary is well suited, absent
congressional action or instruction, to consider and weigh the costs and benefits of allowimg a
damages action to proceed. Thus, to be a “special factor counselling hesitation,” a factor must
cause a court to hesitate before answering that question in the affirmative.” /d. at 1858 .

147, The Supreme Court has also explained that if there is a sound reason for a court
to believe that Congress would question the “efficacy or necessity of a damages remedy,” a court
should refrain from creating a remedy. /d. And “if any alternative, existing process for protecting
the [injured party's] interest” exist that itself may “amoun[t] to a convincing reason for the Judicial
Branch to refrain from providing a new and freestanding remedy in damages.” Id.

148. To determine whether a claim arises under an established Bivens claim or would.
extend such remedy, the court must determine whether the case at issue “is different in a
meaningful way from previous Bivens cases decided by this Court,” and if it is, “then the context
is new.” fd. at 1859,

149. However, the Courts should not completely stray away from awarding a
monetary damages award under Bivens as “a case can present a new context for Bivens purposes

if it implicates a different constitutional right; if judicial precedents provide a less meaningful

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guide for official conduct; or if there are potential special factors that were not considered in
previous Biven cases.” Id. at 1864,

150. As such, the proper two step analysis is: “Whether the request involves a claim
that arises in a “new context” or involves a “new category of defendant” and if yes, “whether there
are special factors [that] counse[l] hesitation[...Jabout granting the extension.” Hernandez vy.
Mesa, 140 S. Ct. 735, 743 (2020).

151. In context of Fourth Amendment violations, the Supreme Court has held that
Congress is better equipped to determine whether damages are appropriate if a border agent uses
excessive force as this contains national security implications. Additionally, a Fourth Amendment
claim is curbed when Congress already authorized alternative remedial measures. Egbert v. Boule,
142 S. Ct. 1793, 1807 (2022).

D. IRS Employee Oversight

152. Chapter 80, Subchapter A of the Internal Revenue Code (Title 26 U.S.C.) is titled
“Application of Internal Revenue Laws” and sets forth the rule and obligation of the Department
of the Treasury, The IRS Oversight Board, Commissioner of Internal Revenue, and other officials.

153, 26 U.S.C. § 7801 described the powers and duties of the secretary. While the
code section states that the administration and enforcement of Title 26 is performed by or under
the supervision of the secretary of the Treasury, it is void of any language requiring the Secretary
to investigate and alleged violations.

154. Pursuant to 26 U.S.C. § 7802, the IRS Oversight board is charged with
overseeing the administration and the execution of the internal revenue law. See 26 U.S.C. § 7802.
However, the IRS Oversight board has no authority or responsibilities with respect to criminal

investigation. See 26 U.S.C. § 7802(c)(2)(B).

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155. As such, the internal revenue code does not provide for any remedial action if an

IRS agent violates a person’s constitutional rights.
E. DOJ Grievance Process

156. Section 1001 of the Patriot Act requires that the DOJ Inspector General reviews
information and receive complaints alleging abuse of civil rights by DOJ employees.

157. But the procedure is inadequate if a federal agent works under the direction of
the DOJ, without being considered a DOJ employee. The DOJ’s Office of the Inspector General
webpage makes it clear that the DOJ Inspector General has limited jurisdiction, which do not
include IRS agents working at discretion of a DOJ employee. See generally,
https://oig.justice.gow/hotline/submit_complain. As such, an IRS-CI investigator is not subject to
the IRS Oversight board or the DOJ Grievance Process.

158. There is no proper process if an IRS-CI Agent who is working under the limited
supervision of prosecutors based on trust unlawfully engages in arbitrary fishing expeditions or
perpetuate an investigation with the intent to harass. See United States v. R. Enterprises, Inc., 498
U.S. 292, 301 (1991). Or if such agent cause sham subpoenas to be issued. A sham subpoena ts a
subpoena that serves little purpose. See generally, United States v. Hammond, 858 F2d 834 Qd
Cir. 1988).

159. The constitutionally inadequate internal procedures are ineffective at deterring
future violations of IRS-CI agents as addressed in United States v. R Enterprise, Inc. by the
Supreme Court. These further evidences the necessity of judicial intervention and checks and

balances on the executive branch.

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160. If the executive and legislative branches collude to deny citizens any relief for
constitutional violations, it is imperative on the judiciary exercise its power of equity and reaffirm
Bivens actions under the Fourth Amendment.

VI. DEMAND FOR JURY TRIAL

161. Pursuant Fed. R. Civ. P. 38(b), John Anthony Castro demands a trial by jury of

all the issues plead, so triable.

VIL CONSTITUTIONAL COUNTS

COUNTI
Bivens Claim against Defendant

162. John Anthony Castro realleges and incorporates by references {J 1 -160.

163. Defendants were, at all times pertinent to this action, Federal actors who were
acting under color of Federal law.

164. Defendants violated John Anthony Castro’s Fourth Amendment right to be
secure in his person and papers against unreasonable searched ad seizures without a warrant when
Defendants accessed John Anthony Castro’s e-mail from a secured third-party network without a
proper warrant.

165. Defendants should have been aware that a proper warrant is needed to request e-
mails from a third party as e-mails are the modern-day equivalent of papers as stated by the
Supreme Court.

166. As such, Defendants are liable for the constitutional violations that they
perpetrated.

167. No alternative legal remedy is available to John Anthony Castro. Even if John

Anthony Castro were to request injunctive relief, the damage cannot be reversed. The Defendants

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already dissected his protected and confidential information and used the information to harass,
embarrass, and attempt to discredit John Anthony Castro.

168. As such, the Bivens claim is John Anthony Castro only means to seek justice.

169. The Supreme court has warned to be critical about extending existing precedents
when being confronted with new concerns brought by digital technology. ‘The Supreme Court has
also stated that punitive damages are especially appropriate to redress violations by Government
officials of one’s constitutional right.

170. Today, the Government can conduct unlawful searches without breaking and
entering into a person’s home. Here, the Government used purely digital means to violate John
Anthony Castro’s constitutional rights.

171. As a result of the Government’s unlawful digital search, John Anthony Castro
was forced to invest heavily in additional IT security to ensure his clients’ confidentiality. As a
direct result of Defendants’ reckless and unauthorized violations of John Anthony Castro’s privacy
rights, he incurred damages of $125,545.17, representing the cost of his firm’s additional IT
security.

172. The Government might believe that a lack of actual property damages reduces
the possibility of a citizen seeking justice. This Court has the opportunity to put a stop to such
radical behavior. Which is why John Anthony Castro is seeking punitive damages of

$100,000,000.

COUNT I
Unlawful Search and Seizure — Microsoft Subpoena

173. John Anthony Castro realleges and incorporates by references {J 1 — 160.
174. The actions of the Defendants in causing the interception and search of John

Anthony Castro’s communication, including his confidential clients e-mails violated John

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Anthony Castro’s clearly established constitutional rights to be free from unlawful search and

seizure and his right to privacy under the Fourth Amendment.

COUNT IIL
Unlawful Search and Seizure — SmartVault Subpoena

175. John Anthony Castro realleges and incorporates by references {{{ 1 — 160.

176. The actions of the Defendants in causing the interception and search of John
Anthony Castro’s confidential files of his clients violated John Anthony Castro’s clearly
established constitutional rights to be free from unlawful search and seizure and his right to privacy

under the Fourth Amendment,

COUNT VI
Unlawful Search and Seizure — Wolter Kuwler Subpoena

177. John Anthony Castro realleges and incorporates by references {J 1 — 160.
178. Defendants’ unlawful seizure and search of John Anthony Castro’s confidential
business files violated John Anthony Castro’s clearly established constitutional rights to be free

from unlawful search and seizure and his right to privacy under the Fourth Amendment.

WHEREBY, Plaintiff, John Anthony Castro respectfully request:
A. Compensatory damages as to all defendants in the amount of $125,545,
B. Punitive damages as to all defendants in the amount of $180,000,000;
C. Reasonable attorney’s fees and cost as to all defendants;
D. Declaratory relief providing clarity on John Anthony Castro’s legal rights in light
of the numerous violations of his constitutional rights in the event that this Court
determines that no right of action exists under Bivens or 26 U.S.C. § 7217; and

E. Such other and further relief as may appear just and appropriate.

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Respectfully submitted,

Dated: June, 5, 2023

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JOHN ANTHONY CASTRO
12 Park Place

Mansfield, TX 76063

Tel. (202) 792- 6600
J.Castro@JohnCastro.com

PLAINTIFF PRO SE

 

 

 
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Verification

I, John Anthony Castro, declare as follows:

1. Iam the plaintiff in the present case, a U.S. citizen, and am actively pursuing the

Republican nomination for the Presidency of the United States.
2. Iam the founder and managing partner of Castro & Co.

3. Ihave personal first-hand knowledge of the matters set forth in this Complaint, and, if

called upon to testify, 1 would competently testify as to the matters stated herein.

4, Pursuant to 28 U.S.C. § 1746, I verify under penalty of perjury that the entirety of the

foregoing Complaint is true and correct.

Executed on June 5, 2023.

   
   

 

YL erga ect
ohn Anthony Castro

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The JS 44 civil cover sheet and the information contained herein neither replace nor suppiement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the Dnited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

L (a) PLAINTIFFS

JOHN ANTHONY CASTRO

{b) County of Residence of First Listed Plaintiff TARRANT
(EXCEPT IN LS. PLAINTIFF CASES)

(e) Attorneys (ira Name, Address, and Telephone Number)

Pro Se

DEFENDANTS

NOTE:
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DONALD J. TRUMP, CHARLES RETTIG, MARIA CHAPA
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County of Residence of First Listed Defendant

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895 Freedom: of Information

 

 

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462 Naturalization Application
465 Other immigration
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Confinement

 

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| 950 Constitutionality of
State Statutes

 

 

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VI. CAUSE OF ACTION

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State Court

» One Bax Only)

3 Remanded from
Appellate Court

cy 4 Reinstated or oO 5 Transferred from
Another District
(specifi)

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):

Reopened

Litigation
Transfer

6 Multidistrict

Cc 8 Multidistrict
Litigation -
Direct File

 

 

Brtef description of cause:

BIVENS ACTION FOR 4TH AMENDMENT VIOLATIONS

 

 

 

 

 

VH. REQUESTED IN [_] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 180,125,545 JURY DEMAND: Pdyes [€]No
VHI. RELATED CASE(S) p
(See fistructions):
IF ANY JUDGE i DOCKET NUMBER
DATE s
06/05/2023
FOR OFFICE USE ONLY ,
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

 

 

 

 

 

 

 
